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                                                                      2018 Jun-18 PM 04:19
                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA


                UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF ALABAMA
                   NORTHEASTERN DIVISION

GEMSTONE FOODS, LLC and             }
RCF, LLC                            }
                                    }
     Plaintiffs;                    }
                                    }   Case No.: 5:15-cv-2207-MHH
v.                                  }
                                    }
AAA FOODS ENTERPRISES,              }
INC.; A&M CONSULTING FIRM,          }
LLC; FARM FRESH FOODS,              }
LLC; COOPER, HILL &                 }
LECROIX, CPAs; MICHAEL              }
CLAUDE ENSLEY; ANNETTE              }
CARR; SHANE PASS; MARK              }
WELBORNE; MATTHEW                   }
WESTER; EDWARD L. HILL;             }
GARY HILL; DEBORAH                  }
CAMPOS; and John and Jane Does      }
1-10                                }
                                    }
     Defendants.                    }
                                    }
                          - AND -   }
                                    }
MICHAEL ENSLEY, et al.,             }
                                    }
     Plaintiffs;                    }
                                    }   Case No.: 5:15-cv-01179-MHH
v.                                  }
                                    }
BEN O. TURNAGE, et al.,             }
                                    }
     Defendants.                    }
                                    }
                                    }
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                          STIPULATION OF PARTIES

      As required by Rule 26(f) of the Federal Rules of Civil Procedure, the parties

presented to the Court a Report of Parties Planning Meeting to the Court through

Special Master, Cal Mayo. The parties have engaged in extensive discovery in the

case, including review and production of more than one hundred thousand
documents and need an extension of the discovery deadlines and other deadlines in

the case in order to properly prepare the case for trial as follows:
1.    Discovery Plan
           Unless modified by the Court for good cause shown, all discovery must
             be commenced in time to be completed by February 28, 2019.

           Nothing in this Stipulation prejudices or constitutes a waiver of a

             Party’s right to request that the Special Master modify the discovery
             plan, which will only be done for good cause shown.

           Unless modified by stipulation of the parties, with approval of the

             Special Master, or Court order, the parties agree to the following

             modified discovery limitations:
2.    Experts
      Unless modified by stipulation of the parties with approval of the Special

Master, the disclosure of expert witnesses, including a complete report under Rule

26(a)(2)(B) from any retained expert are due by the following dates:

           Initial report from party bearing the burden of proof (Plaintiffs in

             each respective case): November 1, 2018.
           Responsive report from party not bearing the burden of proof


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                 (Defendants in each respective case): January 15, 2019.
3.       Amendment of Pleadings
         The parties shall amend all pleadings by October 1, 2018.
4.       Trial
         The case should be ready for trial by July, 2019. At this time, the parties expect

it to take three weeks of trial time.
5.       Special Master Approval and Recommendation
         This Report has been reviewed and approved by Special Master Cal Mayo.

Following a conference call with the Parties, the Special Master recommends entry
of a Scheduling Order consistent with the contents of this Report.

         This the 18th day of June, 2018.


/s J. Cal Mayo, Jr.
J. Cal Mayo, Jr., Special Master


    /s Michael Heilman                            /s Jeff Starling
    One of the Attorneys for Plaintiffs           One of the Attorneys for Defendants


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                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system, which will send notification of such filing to all

counsel of record.

      This the 18th day of June, 2018.

                                    /s/Michael A. Heilman
                                    Michael A. Heilman (admitted pro hac vice)




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